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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 EUGENE NYAMBAL,

        Plaintiff,
                v.                                          No. 14-1904-EGS-ZMF
 ALLIEDBARTON                      SECURITY
 SERVICES, LLC,

        Defendant.




                                 MEMORANDUM OPINION

       Pending before the Court are two related motions: (1) Motion for Protective Order, ECF

No. 117 (“Def.’s MPO”), filed by Defendant AlliedBarton Security Services, LLC

(“AlliedBarton”); and (2) Motion for Sanctions, ECF No. 132 (“Pl.’s Mot. for Sanctions”), filed

by Plaintiff Eugene Nyambal (“Mr. Nyambal”). Defendant’s Motion for Protective Order is

GRANTED in part and DENIED in part; Plaintiff’s Motion for Sanctions is DENIED.

I.     BACKGROUND

       A.      The Stay

       The Court presumes that the parties are familiar with the allegations in this case, and thus

will dispense with a detailed recitation of those allegations. See Nyambal v. AlliedBarton Sec.

Servs., LLC, 153 F. Supp. 3d 309, 311–13 (D.D.C. 2016) (providing factual background). On

February 24, 2020, Judge Sullivan stayed the case to allow Mr. Nyambal to seek new counsel. See

Min. Orders, Feb. 24, 2020, May 22, 2020. This action was still stayed when the parties filed their

pending discovery-related motions. See Min. Order May 22, 2020. On January 22, 2021, the

Court lifted the stay. See Min. Order, Jan. 22, 2021.

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       B.      Initial Disclosures

       On October 24, 2018, the parties “stipulate[d] to dispense with the initial disclosures

required by Rule 26(a)(1).” ECF No. 44 (“Joint Meet and Confer Report”) at 4. On January 31,

2019, following a change in counsel by Mr. Nyambal, the parties affirmed that they had

“dispense[d] with the initial disclosures required by Rule 26(a)(1).” ECF No. 52 (“Joint Meet and

Confer Report”) at 4. Judge Sullivan subsequently recognized the official waiver, noting that

“[t]he parties have stipulated to dispense with the initial disclosures required under Federal Rule

of Civil Procedure 26(a)(1).” Min. Order, Feb. 1, 2019.

       Yet six months after the waiver, Mr. Nyambal made his initial disclosures following

another change of counsel. See ECF 124 (“Pl.’s Reply for Mot. for Sanctions”) at 4. Mr. Nyambal

subsequently demanded AlliedBarton’s initial disclosures. See id. AlliedBarton objected based

on the prior waiver. See Def.’s MPO at 4–5. Undeterred, Mr. Nyambal continued to request initial

disclosures in subsequent correspondence. See Pl.’s Mot. for Sanctions at 1. AlliedBarton now

seeks a protective order to preclude the production of initial disclosures based on the prior waiver.

       C.      Prior Discovery Requests

       Between May and July 2019, Mr. Nyambal propounded two rounds of discovery requests

upon AlliedBarton. In August 2019, AlliedBarton produced its responses. Mr. Nyambal argues

AlliedBarton’s responses were so deficient to merit the imposition of sanctions.

       In May 2020, Mr. Nyambal issued a third round of discovery requests. See ECF No. 119

(“Pl.’s Resp. to Def.’s MPO”) at 10. This included a second request for the security contract

between the International Monetary Fund and AlliedBarton (“IMF Security Contract”). On May

26, 2020, AlliedBarton requested Mr. Nyambal withdraw these requests because the case was

stayed. See Def.’s MPO at 1. Mr. Nyambal refused to withdraw his discovery requests and



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AlliedBarton sought a protective order to preclude him from seeking such discovery during the

pendency of the stay. See id. at 2. Mr. Nyambal argues that AlliedBarton’s refusal merits

sanctions.

        D.     Pro Se Status

        Several different attorneys represented Mr. Nyambal throughout the course of this

litigation. See generally Docket (documenting change of counsel). On February 24, 2020, Mr.

Nyambal terminated his most recent counsel and later elected to proceed pro se. See ECF No. 109

(“Pl.’s Status Report”) at 1.

II.     LEGAL STANDARD

        This Court has the power to issue a protective order, for good cause, “to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ.

P. 26(c)(1). By issuing a protective order, the Court may “forbid[] inquiry into certain matters, or

limit[] the scope of disclosure or discovery.” Fed. R. Civ. P. 26(c)(1)(d).

III.    ANALYSIS

        A.     Initial Disclosures

        Mr. Nyambal appears to make two arguments as to why AlliedBarton must make their

initial disclosures. First, that initial disclosures are required and cannot be waived. See Pl.’s Resp.

to Def.’s MPO at 14. Second, that the change of his counsel and pro se status negates his prior

counsel’s waiver. See id. at 15. No caselaw supports either argument.

        As explained by the Advisory Committee Notes, Rule 26(a)(1)(A) empowers a court to

“eliminate or modify the disclosure requirements in a particular case, and similarly the parties,

unless precluded by order or local rule, can stipulate to elimination or modification of the




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requirements for that case.” Fed. R. Civ. P. 26(a)(1) advisory committee's note to 1993

amendment. This Court’s local rules allow for such waiver. See LCvR 16.3(c)(7).

        Once the parties filed their waiver stipulation, it was binding. C.f. Hajjar-Nejad v. George

Washington Univ., No. 10-00626, 2012 WL 13168551, at *2 (D.D.C. Oct. 9, 2012) (holding that

plaintiff’s stipulation to waive initial disclosures is not binding until it is filed). And Judge Sullivan

so noted. See Min. Order, Feb. 1, 2019.

        Mr. Nyambal cannot undo his prior counsel’s waiver simply by virtue of being pro se now

or because he has changed his mind on the value of such waiver. See Jideani v. Wash. Metro. Area

Transit Auth., 979 F. Supp. 2d 77, 83 (D.D.C. 2013) (upholding pro se plaintiff’s waiver because

the court acknowledged the parties’ waiver in its scheduling order).              This is because Mr.

Nyambal’s “pro se status does not relieve h[im] of h[is] obligation to comply with the Federal

Rules of Civil Procedure and the local civil rules of this Court.” Id. at 83. Such rules bind him to

his prior counsel’s waiver.1

        B.      Extant Discovery Requests

        Mr. Nyambal issued his discovery requests while this case was stayed. See Pl.’s Mot. for

Sanctions at 3. The stay “excused [AlliedBarton’s] obligation” to respond at that time. King v.

E.F. Hutton & Co., No. 86-cv-0211, 1987 WL 8733, at *10 (D.D.C. Mar. 13, 1987). But times

have changed. As the parties agree, this case is no longer stayed. See Min. Order, Jan. 22, 2021.

The extant requests “became effective only after the conclusion of the stay.” Mwabira-Simera v.

Howard Univ., No. 05-cv-0441, 2006 WL 8460268, at *1 (D.D.C. Nov. 24, 2006).




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  To the extent that Mr. Nyambal seeks sanctions for AlliedBarton’s failure to make initial
disclosures, his motion is denied. AlliedBarton was not required to make initial disclosures. Mr.
Nyambal’s Motion for Sanctions is further discussed below.
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       AlliedBarton offers no arguments outside of the stay as to why these requests are improper.

See Def.’s MPO at 3–4. Thus, Defendant’s motion for Protective Order is DENIED as to these

requests. Defendant must respond to the outstanding discovery requests within 30 days of this

opinion unless ordered differently by Judge Sullivan.

       C.      Sanctions

                      Legal Standard

       Pursuant to Rule 37, a court may issue orders “as are just” to sanction a party that “fails to

obey an order to provide or permit discovery.” Fed. R. Civ. P. 37(d) advisory committee's note to

1970 amendment; Fed. R. Civ. P. 37(b)(2). “Federal court decisions . . . unanimously agree that

sanctions pursuant to Rule 37 may not be awarded absent violation of a court order.” Shepherd v.

Am. Broad. Companies, Inc., 62 F.3d 1469, 1474 (D.C. Cir. 1995) (cleaned up).

       Outside of Rule 37, courts have “the inherent power to impose sanctions for abusive

litigation practices undertaken in bad faith.” Young v. Off. of U.S. Senate Sergeant at Arms, 217

F.R.D. 61, 65 (D.D.C. 2003). Sanctions based on the court’s inherent authority are not limited by

the requirement of a violation of a court order. See id. Yet courts must act with “restraint and

discretion” to prevent their inherent authority from becoming boundless. Chambers v. NASCO,

Inc., 501 U.S. 32, 44 (1991)).

       The court is mindful that Mr. Nyambal is proceeding pro se and will construe his motion

for sanctions liberally. See Baldwin v. Credit Based Asset Servicing & Securitization, 516 F.3d

734, 738 (8th Cir. 2008).




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               2.      Analysis

                       i.      Third Request

       Rule 37 sanctions are inapplicable because AlliedBarton was not subject to a production

order. See Paavola v. Hope Village, No. 19-cv-1608, 2021 WL 4033101 at *2 n.3 (D.D.C. Sept.

4, 2021). Indeed, Mr. Nyambal never even sought an order to compel discovery.

       Sanctions are also inapplicable under the Court’s inherent power. Such sanctions are

reserved for cases of egregious conduct that involve the “destruction or concealment of evidence.”

More, 480 F. Supp. 2d at 275. There is neither allegation, nor evidence of that here. In fact,

AlliedBarton is working to produce the IMF Security Contract requested by Mr. Nyambal and

informed him they would produce it as soon as possible. See ECF No. 122 (“Def. Opp. to Pl.’s

Mot. for Sanctions”) at 5.

                       ii.     Prior Requests

       Mr. Nyambal failed to specify which objections were inadequate and why. Without doing

so, the Court cannot evaluate his request. See U.S. ex rel. Pogue v. Diabetes Treatment Centers of

Am., Inc., 235 F.R.D. 521, 523–24 (D.D.C. 2006) (analyzing whether specific Relator’s objections

to interrogatories were proper).

                       iii.    Future Action

       Mr. Nyambal has skipped several steps in seeking sanctions at this stage. Prior to filing

for future sanctions, Mr. Nyambal should first “confer with opposing counsel” in a meaningful

way about any dispute. Equal Rts. Ctr. v. Post Properties, Inc., 246 F.R.D. 29, 31 (D.D.C. 2007).

If that does not resolve the dispute, he can then file a motion to compel discovery, specifically

outlining the discovery requests at issue. See id. If after that, AlliedBarton fails to obey the Court’s

order, or acts “recklessly or negligently in destroying or failing to [produce] the missing evidence”



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then sanctions may be appropriate. More, 480 F. Supp. 2d at 261. Given AlliedBarton’s record

of compliance to date, there is nothing to indicate it would engage in such outrageous behavior in

the future.

IV.     CONCLUSION

        This is a final order issued pursuant to Local Rule 72.2. The parties are hereby advised

that, under the provisions of Local Rule 72.2(b) of the United States District Court for the District

of Columbia, any party who objects to this Order must file a written objection thereto with the

Clerk of this Court within 14 days of the party's receipt of this Order. When considering an

objection, the District Judge will determine whether this Order is clearly erroneous or contrary to

law. See LCvR 72.2(c).


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                                                      ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE




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